Case 6:14-cv-01309-EFM-JPO Document90_ Filed 08/21/15 Pagelof1

IN THE UNIFED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

PATRICIA A, McCOY, et al., on behalf of
themselves and all others similarly situated,

Plaintiffs,

Vv. Case No. 6:14-cv-1309-EFM-JPO
OVER EASY MANAGEMENT, INC.,
OVER EASY, LP

OVER EASY NUMBER IX, LP,
OVER EASY NUMBER X, LP, and
GREGG A. HANSEN,

)
)
)
)
)
)
)
)
)
)
)
)
)
)
Defendants. 5
)

CONSENT TO JOIN

I was employed by Huddle House Restaurants in Salina or Emporia, Kansas, and worked as a
Server or as a Cook during some period time between September 19, 2013, and the Present Date. By my
signature below, I hereby authorize the filing and prosecution in my name and on my behalf claims to
contest the Defendants’ failure to pay me wages as required under applicable federal and/or state law. I
also authorize the filing of this Consent to Join in this lawsuit challenging such conduct in this and any
subsequent action that may or may not be filed after decertification, if necessary. By joining this lawsuit
as a party-plaintiff, I seek to recover from Defendants all damages, including but not limited to any
wages and overtime compensation to which J may be entitled.

I hereby authorize Patricia A. McCoy, Retta A. Feldkamp and Christina L. Reeves (“Plaintiffs”),
and designate them class representatives as my agents to represent me in the litigation and to make
decisions on my behalf concerning the litigation (including but not limited to the method and manner of
conducting the litigation, the payment of Plaintiffs’ Counsels’ attorneys’ fees and expenses, the potential
resolution of my claims in the litigation through a negotiated settlement with Defendants, and all other
matters pertaining to the lawsuit).

{Unhael Pre jer AEDS | tJa/K-

Full Name (Print clearly) Signature Date

loblW Ovourblic L2oh% Salina KS Gra!

Home Address’ City/State/Zip

TES -GO -72- Fo mu kebrjort 252 Gres | Com

Telephone Number Personal Email Address

